         Case 3:18-cv-01381-BJM Document 1-3 Filed 06/18/18 Page 1 of 7 Exhibit A
CERTIFIED TRANSLATION                          by: Olga M. Alicea, fcci, njitce-s

                                COMMONWEALTH OF PUERTO RICO
                                   COURT OF FIRST INSTANCE
                                      MAYAGUEZ COURT

GABRIEL C. CORCHADO PEREZ                          CIVIL NO. ISCI201800253 (205)

                    Plaintiff
                                                   RE:
                       v.

DAIICHI SANKYO DE PUERTO RICO, (DSI);  BREACH OF CONTRACT AND DAMAGES
INSURANCE COMPANIES
A, B, AND C INC.; JOHN DOE AND RICHARD        [Document filing stamp:
DOE                                       CLERK’S OFFICE, CIVIL SECTION
                                           MAYAGÜEZ JUDICIAL CENTER
               Defendants.
                                               2018 APR -2 PM 4: 41]

                                         COMPLAINT

TO THE HONORABLE COURT:

       Comes now plaintiff, through his undersigned legal representation, and respectfully

states and prays:

                                  I. JURISDICTION AND VENUE

       1.1    The Court of First Instance of Puerto Rico, Mayaguez Court, has jurisdiction to

address this matter according to Article 5.001 of the Puerto Rico Law of the Judiciary of 2003,

as amended.

       1.2    The Court of First Instance of Puerto Rico, Mayaguez Court, has jurisdiction to

address matter pursuant to Rule 3.4 of the Rules of Civil Procedure, as this cause of action

originated in the city of Mayaguez, Puerto Rico.

                                          II. PARTIES

       2.1.   The physical and mailing address of plaintiff Gabriel C. Corchado Pérez is as

follows: 3019 Hacienda La Quinta, Isabela, P.R. 00662, telephone (787) 980-8802.

       2.2    Codefendant Daiichi Sankyo de Puerto Rico is a for profit corporation, allegedly

authorized to do business in Puerto Rico, and its mailing address is: Two Hilton Court,

Parsippany, NJ 07054.


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       2.3      Designated by the fictitious name of ABC, Inc., is any insurance company that

has issued an insurance policy in favor of any of the codefendants that may cover the damages

that are claimed by plaintiff and whose true name is currently unknown.

       2.4      Designated by the fictitious names of John Doe and Richard Doe are any natural

or legal persons that have been the cause, or have contributed to the cause of the damages

suffered by plaintiff, and whose real names are currently unknown.

                            III. FACTS RELEVANT TO THE CLAIM

       3.1      Plaintiff began working with defendant in the year 2007 as a medical

representative.

       3.2      Plaintiff worked for defendant for a period of ten years, during which he

performed his duties and responsibilities in an excellent and efficient fashion.    He stopped

working for defendant for a short period of time. However, he was later reinstated and as part of

his employment contract he had the same previous working conditions and it was guaranteed to

him that he would keep the hours and days for sick leave, vacations, commissions, and

benefits.

       3.3      Effective March 31, 2017, plaintiff was dismissed from his job without any legal

justification. He was not given a letter, any document, or verbal argument that justified his

dismissal.

       3.4      While he worked with defendant, plaintiff had family medical insurance with

Triple S. The company paid one part and plaintiff paid approximately twenty percent. However,

on the date of his dismissal, plaintiff did not receive any guidance, nor was he given documents

to strictly comply with the Consolidated Omnibus Budget Reconciliation Act OR [sic] 1985

(COBRA).

       3.5      Defendant, illegally, offered to provide him with the guidance and the documents

on said law on the condition that he sign a Severance Agreement, General Release and Waiver.

In effect, since plaintiff did not agree to sign it because that implied that his rights will be



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violated, defendant did not provide him with either the guidance or the documents on the

COBRA act.

       3.6     Three months after being dismissed, plaintiff was diagnosed with the condition of

hydrocele. This condition caused swelling of his testicles. As a result of that medical diagnosis,

plaintiff suffered intense pains, anguish, uneasiness, and his sexual activity was drastically

affected. These damages are estimated in an amount of not less than one hundred thousand

dollars ($100,000.00).

       3.7     The plaintiff finally was operated by Dr. Jorge Rivera Herrera, a specialist in

urology, in August 2017.      That surgery had to be paid by plaintiff, despite his precarious

economic situation and he had to disburse one thousand five hundred dollars ($1,500.00).

       3.8     Plaintiff obtained an award for his work and performance, which was not given to

him, which amounted to seven thousand five hundred dollars $7,500.00).

       3.9     Likewise, the Liquidation Package that was provided to plaintiff when he was

dismissed was not computed according to the years of that plaintiff had worked for defendant.

       3.10    The Liquidation Package was not calculated either according to the actual items

that were supposed to be included in such transaction.

       3.11    On multiple occasions, plaintiff asked defendant to correct the deficiencies, since

that work was contemplated in the contract. Some of the dates when he formally requested

specific performance of the agreements were: by email on February 3, 2017, on February 10,

2107, on February 14, 2017, and on February 15, 2017, and by written communication on

March 29, 2017.

       3.12    Defendant’s breach through temerity of the obligations contracted was such that

plaintiff had to incur in additional expenses to be able to subsist.

       3.13    The obligated contracted and breached by defendant constitute essential aspects

of the agreement between the parties.        That is, that they are not ancillary obligations but

essential obligations for which the parties signed an employment contract.



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        3.14    In this case, defendant breached essential obligations of the employment

contract between the parties causing serious economic and moral damages to plaintiff. All of

this even though on countless occasions codefendants’ attention was called and they were

provided with documentation so that they could comply with what they had covenanted.

                  IV. FIRST CAUSE OF ACTION: BREACH OF CONTRACT,
                 REQUEST FOR SPECIFIC PERFORMANCE, AND DAMAGES

        4.1     All of the assertions of fact that are stated in this complaint under the title

“FACTS RELEVANT TO THE CLAIM” are adopted by reference as if the same had been

literally transcribed in this paragraph.

        4.2     It is requested of this Honorable Court that it order the legal entity Daiichi Sankyo

de Puerto Rico to comply with the contractual obligations in efficiently and adequately.

      V. SECOND CAUSE OF ACTION: MORAL DAMAGES AND MENTAL ANGUISH

        5.1     All of the assertions of fact that are stated in this complaint under the title

“FACTS RELEVANT TO THE CLAIM” and in the subtitle “FIRST CAUSE OF ACTION:

BREACH OF CONTRACT, REQUEST FOR SPECIFIC PERFORMANCE, AND DAMAGES[,”]

are adopted by reference as if the same had been literally transcribed in this paragraph.

        5.2     Given the breach of the essential obligations of the contract by codefendants,

plaintiff attempted on multiple occasions to contact any representative of codefendants; these

communications were done by telephone calls, emails, verbal communications, etc. However,

through temerity, have refused to correct the situations related and documented by plaintiff,

causing him to be forced to incur in additional expenses to be able to file a claim through judicial

means regarding the items to which he is entitled.

        WHEREFORE, it is respectfully prayed that this Court:

    a. grant the Complaint filed,

    c. [sic] order specific performance of what was covenanted with plaintiff

    d. impose jointly on al codefendants the payment of the items claims, plus legal accrued
       interest, as of the filing of the complaint,



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     e. impose jointly on all codefendants the payment of the costs, expenses, and attorneys’
        fees in the amount of fifteen thousand dollars $15,000.00 due to its temerity.

        In Ponce, Puerto Rico, on April 2, 2018.

                                         GAMALIEL RODRIGUEZ LOPEZ (5396)
                                         GAMALIEL RODRIGUEZ BALLESTER (15,913)
                                         Attorneys for plaintiff
                                         Emilio Fagot Avenue
                                         Office 2906
                                         Ponce, P.R. 00731
                                         PO Box 331646
                                         Ponce, PR 00733-1646
                                         Tels. (787) 651-3969 / (787) 651-3588
                                         Fax (787) 651-3534
                                         E-mail: bufetegrodriguez@hotmail.com



                                                    (Signed)
                                         GAMALIEL RODRIGUEZ BALLESTER (15,913)




                                              CERTIFICATION
     I, Olga M. Alicea, an English-Spanish Interpreter and Translator certified to that effect by the
  Administrative Office of the U.S. Courts and by the National Association of Judiciary Interpreters &
 Translators (NAJIT), do hereby certify that I have personally translated the foregoing document from
Spanish to English and that the translation is true and accurate to the best ofmy knowledge and abilities.
S/     Olga M. Alicea                                                          June 8, 2018
Olga M. Alicea, fcci, njitce-s,   Fed. Cert. No. 98-005                                  date




                                     Translation page 5 of 5
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                                   COMMONWEALTH OF PUERTO RICO
                                      COURT OF FIRST INSTANCE
                                         MAYAGÜEZ COURT

 GABRIEL C. CORCHADO PEREZ                                    CIVIL NO. ISCI201800253 (205)

                          Plaintiff
                                                              RE:
                              v.

 DAIICHI SANKYO DE PUERTO RICO, (DSI);                        BREACH OF CONTRACT AND DAMAGES
 INSURANCE COMPANIES
 A, B, AND C INC.; JOHN DOE AND RICHARD
 DOE

                       Defendants.


                                              SUMMONS

UNITED STATES OF AMERICA                                  )
THE PRESIDENT OF THE UNITED STATES                        )        SS
THE COMMONWEALTH OF PUERTO RICO                           )

TO:    DAIICHI SANKYO DE PUERTO RICO (DSI)
       Two Hilton Court
       Parsippany, NJ 07054

        YOU ARE HEREBY served so that you will file with the court your responsive allegation
to the Complaint within thirty (30) days of having been served with this summons, excluding the
date of service, notifying a copy of the same to the attorneys for plaintiff or to plaintiff, should he
not have legal representation. Should you fail to file your responsive allegation within the
mentioned term, the court may enter judgment by default against you and grant the remedy
requested in the Complaint, or any other, if the court, in its sound discretion, deems it warranted.

                                  Gamaliel Rodríguez Law Firm
                                         P.O. Box 331646
                                 Ponce, Puerto Rico 00733-1646
                                    2906 Emilio Fagot Avenue
                                        Ponce, PR 00716
                    Tel. (787) 651-3969 / (787) 651-3588 Fax (787) 651-3534
                              E-mail: bufetegrodriguez@hotmail.com

       Issued under my signature and the seal of the Court, today APR -2 2018.

       [Illegible] Irizarry
        Regional Clerk                                                     APR -2 2018
       Clerk                                                               Date

                                        Ramona Barbot Perez
                        By              (Illegible) (Initials illegible)
                                             Assistant Clerk
                                                                           [Official Seal of the Court]




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                                                                         Case no.


                            SERVICE OF PROCESS BY AN INDIVIDUAL

        I, Carlos [Illegible] , declare that I have the legal capacity according to Rule 4.3 of
Civil Procedure of Puerto Rico, and I certify that the service of the summons and of the
complaint in the referenced case was done by me, on May 17, 2018, in the following manner:

        Through personal delivery to the defendant at the following physical address:



   X Leaving a copy of the documents with an agent authorized by the defendant at the
following physical address: Daiichi Sankyo PR
                      C/O Federico Calaf, Esq.

        The summons could not be served personally due to:


                                  COSTS OF THE SERVICE OF PROCESS

                                           $________________

                            DECLARATION OF THE PROCESS SERVER

        I declare under penalty of perjury, according to the laws of the Commonwealth of Puerto
Rico, that the information provided in the service of process of the summons is true and correct.

      IN WITNESS WHEREOF, I subscribe this document at                   San Juan        , Puerto Rico ,
today May 17, 2018.

                                                                        [Signature illegible]
                                                                 Signature of the Process Server

                                                                         Ponce PR

                                                                 Address of the Process Server
AFFIDAVIT NO.________

       Sworn to and subscribed before me by _______________________, who is of legal
age, ____________, and a resident of ______________, Puerto Rico, whom I identified through
___________________________, Puerto Rico, today _________________, 2017.



                                                                      NOTARY PUBLIC




                                              CERTIFICATION
     I, Olga M. Alicea, an English-Spanish Interpreter and Translator certified to that effect by the
  Administrative Office of the U.S. Courts and by the National Association of Judiciary Interpreters &
 Translators (NAJIT), do hereby certify that I have personally translated the foregoing document from
Spanish to English and that the translation is true and accurate to the best ofmy knowledge and abilities.

S/     Olga M. Alicea                                                             June 11, 2018
Olga M. Alicea, fcci, njitce-s,     Fed. Cert. No. 98-005                                   date




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